   Case: 3:15-cv-50148 Document #: 207 Filed: 08/10/18 Page 1 of 4 PageID #:2104



                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISION

RITACCA COSMETIC SURGERY AND                       )
MED SPA, LTD., et al.,                             )
                                                   )   Case No. 3:15-cv-50148
                              Plaintiffs,          )
                                                   )   Judge Frederick J. Kapala
                 v.                                )
                                                   )   Magistrate Judge Iain D. Johnston
CYNOSURE, INC.,                                    )
                                                   )
                              Defendant.
                                                   )

                                     JOINT STATUS REPORT

        Pursuant to the parties’ Short-Term Discovery Plan (“Discovery Plan”) (Doc. # 202), and

this Court’s order approving the same (Doc # 203), Plaintiff and Defendant jointly submit this

status report.

        In accordance with the Discovery Plan, the parties exchanged lists of witnesses –

including individual witnesses and draft 30(b)(6) notices – and conferred about the deposition

requests and 30(b)(6) topics. The parties were successful in working through these issues, and at

this time, have no disputes warranting Court involvement.

        Defendant Cynosure has agreed to produce two individual witnesses and is making

outreach to two former employees whose depositions were requested to try to secure their

voluntary attendance at deposition. Cynosure further will produce witness(es) to cover

approximately 25 topics contained in Plaintiff’s 30(b)(6) notice. Certain other requested

witnesses are former employees not within Cynosure’s control, and Plaintiff will pursue those

depositions directly as necessary.
   Case: 3:15-cv-50148 Document #: 207 Filed: 08/10/18 Page 2 of 4 PageID #:2105



       Plaintiff will produce two individual witnesses, Dr. Ritacca and another individual

affiliated with his practice. Those witnesses will also cover approximately 11 topics contained in

Defendant’s 30(b)(6) notice.

       The parties are working on deposition dates, and expect deposition discovery to begin in

earnest in October. We will be prepared to provide the Court with a further update on scheduling

during the September 18 telephonic status conference. If any disputes arise in the meantime, we

will raise them with the Court at the conference.

Dated: August 10, 2018

                                                    POWERS, ROGERS & SMITH


                                                      /s/ Devon C. Bruce

                                                    Devon C. Bruce
                                                    Jonathan M. Thomas
                                                    70 West Madison Street, Suite 5500
                                                    Chicago, IL 60602
                                                    T: +1 312 236 9381

                                                    WILLIAMS MCCARTHY
                                                    Joel M. L. Huotari
                                                    Marc C. Gravino
                                                    120 West State Street
                                                    P.O. Box 219
                                                    Rockford, IL 61105-0219
                                                    T: +1 815 987 8982

                                                    Attorneys for Plaintiffs




                                                2
Case: 3:15-cv-50148 Document #: 207 Filed: 08/10/18 Page 3 of 4 PageID #:2106



                                         ARNOLD & PORTER KAYE SCHOLER LLP

                                          /s/ Daniel Meyers
                                         Daniel Meyers
                                         70 West Madison Street, Suite 4200
                                         Chicago, IL 60602-4231
                                         T: +1 312 583 2300
                                         F: +1 312 583 2360

                                         Daniel S. Pariser (pro hac vice)
                                         Jocelyn A. Wiesner (pro hac vice)
                                         601 Massachusetts Avenue NW
                                         Washington, DC 20001-3743
                                         T: +1 202.942.5000
                                         F: +1 202.942.5999

                                         Anand Agneshwar (pro hac vice)
                                         Lori B. Leskin (pro hac vice)
                                         250 West 55th Street
                                         New York, NY 10019-9710
                                         T: +1 212 836 8000
                                         F: +1 212 836 8689

                                         Attorneys for Defendant




                                     3
   Case: 3:15-cv-50148 Document #: 207 Filed: 08/10/18 Page 4 of 4 PageID #:2107



                                CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing was filed with the Clerk of the U.S. District Court

for the Northern District of Illinois, Western Division, using the Court’s CM/ECF system, and

that a copy was served via electronic means on August 10, 2018, upon all counsel of record

pursuant to the Northern District of Illinois General Order on Electronic Case Filing.

                                      By:    /s/ Daniel Meyer




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